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5/30/2018 9:39 AM

57-CV-2018-900159.00

CIRCUIT COURT OF

RUSSELL COUNTY, ALABAMA

JODY SELLERS, CLERK

IN THE CIRCUIT COURT OF RUSSELL COUNTY, ALABAMA

MO GREED, 2 minor,

suing by and through her mother and
next friend, ASHLEY COLLINS,

  

Plaintiff,

Vv. Case No. 57-CV-2018-

ALABAMA, a municipal corporation,
OFFICER JAY GEIGER, badge number

130, and DEFENDANTS X.,Y,Z, whose
names are otherwise unknown to the
plaintiff, but will be added hereto by

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THE CITY OF PHENIX CITY, )
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amendment when ascertained. )
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Defendants.
COMPLAINT

COMES NOW the Plaintiff in the above-captioned matter and by and through her

undersigned attorney of record file this, her Complaint as follows:

1. The Plaintiff is a resident of the State of Alabama and a minor child who is bringing this
cause of action, pursuant to Rule 17(c), Alabama Rules of Civil Procedure, by and through
her mother and next of friend; Ashley Collins under the authority of the Code of Alabama,
§6-5-390.

2. Ashley Collins is the natural mother of the Plaintiff, and adult over the age of nineteen (19)
and a resident of the State of Alabama.

3. The City of Phenix City, Alabama (hereinafter the “City”), is upon information and belief a
municipal corporation operating within the State of Alabama and Russell County.

4. The Phenix City Police Department (hereinafter “PCPD”’) is, upon information and belief,
that division of the City responsible for the enforcement of State and local laws within the
jurisdiction of the City.

5. Jay Geiger (hereinafter “Geiger’) is an officer employed by the Phenix City Police

department and was so employed at all times relevant hereto and at all times relevant hereto
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acting according to the official policy or accepted practice of the Phenix City Police
Department.

That on or about September 18, 2017, Geiger intentionally and willfully, physically assaulted
the Plaintiff by pulling her from an automobile and slamming her to the ground.

That on or about September 18, 2017, Geiger intentionally and willfully, physically assaulted
the Plaintiff by spraying her in the eyes and about the face with a substance referred to as
“freeze plus p”’.

That on or about September 18, 2017, Geiger, without sufficient cause of justification, held
the Plaintiff against her will.

That Defendants X, Y and Z and such other fictitious names as may be necessary, are those
individuals, entities, employees, agents, assigns or unknown actors whose names are not
currently known by the Plaintiffs but who may at some time be determined to be a true party
in interest, a party with direct, indirect, implied or express culpability for the damages caused
to the Plaintiff or any damages that may arise or become known in the future resulting from
the acts complained of herein, or a party with direct, indirect, implied or express liability for
the damages caused to the Plaintiff or any damages that may arise or become known in the
future resulting from the acts complained of herein.

At all times relevant to this action, Defendants Geiger and/or X,Y,7, were acting within the
scope of their responsibilities as an employee and/or agent of the City and/or X,Y,Z and were
at all times relevant hereto acting according to the official policy or accepted practice of the
Phenix City Police Department..

On or about the 18" day of September, 2017, Geiger arrived at the Russell County Juvenile
Court where he signed an affidavit stating that “On or about September 18, 2018 at around
0230 hours, Ms. M@qqgBD struck officer Geiger in the face with her foot while she was
being placed in the backseat of a patrol car.”

On or about the 18" day of September, 2017, based on Geiger’s affidavit, a juvenile
delinquency petition was issued against the Plaintiff for the offense of Assault 3" degree.

On or about the 18" day of September, 2017, based on Geiger’s affidavit, a juvenile
delinquency petition was issued against the Plaintiff for the offense of Resisting Arrest.

On or about the 18" day of September, 2017, the said juvenile petitions were assigned case

numbers 57-JU-2004-000644.03 and 57-JU-2004-000644.04 by the Russell County Juvenile
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Court Clerk and the matter was assigned to the Honorable Zach Collins, Juvenile Court
Judge.
On or about 21% day of November, 2017, said juvenile petitions were served and executed
upon the Plaintiff and she was required to appear in the Russell County Juvenile Court and
answer to the petition.
On or about 21st day of February, 2018, Judge Collins called the case for trial and heard the
evidence presented by the State of Alabama. Upon completion of the case and submission the
case upon the evidence and testimony presented, the Court found that the State failed to meet
its burden and the matters were dismissed with prejudice, a ruling favorable to the Plaintiff
and adverse to the Defendants.

Count I

Malicious Prosecution

. Plaintiff incorporate by reference paragraphs 1 through 16 as if restated herein.
18.

Plaintiff avers that the Defendants, without probable cause therefore and with malicious
intent, initiated against the Plaintiff a delinquency petition which was designated as case
number 57-JU-2004-000644.03 in the Russell County, Alabama Juvenile Court.

Plaintiff avers that the Defendants made baseless and false claims against the Plaintiff and
that these claims lacked probable cause.

Plaintiff avers that the petitions against her were resolved in her favor.

Plaintiff avers that as a proximate result of the Defendants’ willful and malicious prosecution
of a baseless criminal action against her was caused to suffer humiliation, embarrassment,
damage to her reputation, physical bruising caused in the arrest and attorney fees expended
defending the malicious prosecution action. Accordingly, Plaintiff claims compensatory
damages suffered as a proximate cause of the actions of Defendants.

Plaintiff claims punitive damages due to the malicious nature of the Defendants’ conduct.

WHEREFORE, Plaintiff demands judgment against Defendants in the sum of One Hundred

Thousand ($100,000.00) Dollars, plus punitive damages and costs.

23.

Count Il
Malicious Prosecution

Plaintiff incorporate by reference paragraphs | through 22 as if restated herein.

 
 

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24. Plaintiff avers that the Defendants, without probable cause therefore and with malicious
intent, initiated against the Plaintiff a delinquency petition which was designated as case
number 57-JU-2004-000644.04 in the Russell County, Alabama Juvenile Court.

25. Plaintiff avers that the Defendants made baseless and false claims against the Plaintiff and
that these claims lacked probable cause.

26. Plaintiff avers that the petitions against her were resolved in her favor.

27. Plaintiff avers that as a proximate result of the Defendants’ willful and malicious prosecution
of a baseless criminal action against her was caused to suffer humiliation, embarrassment,
damage to her reputation, physical bruising caused in the arrest and attorney fees expended
defending the malicious prosecution action. Accordingly, Plaintiff claims compensatory
damages suffered as a proximate cause of the actions of Defendants.

28. Plaintiff claims punitive damages due to the malicious nature of the Defendants’ conduct.
WHEREFORE, Plaintiff demands judgment against Defendants in the sum of One Hundred

Thousand ($100,000.00) Dollars, plus punitive damages and costs.

Count OI
Assault

29. Plaintiff incorporate by reference paragraphs | through 28 as if restated herein.

30. Plaintiff avers that the Defendants did, on or about the 18" day of September, 2017, without
cause, with malice of forethought and willful intent, commit an assault and battery upon the
person of the Plaintiff by physically grabbing her, pulling her from an automobile and
throwing her to the ground.

31. Plaintiff as a proximate result of the Defendants’ willful and malicious action was caused to
suffer damage. Accordingly, Plaintiff claims compensatory damages suffered as a proximate
cause of the actions of Defendants.

32. Plaintiff claims punitive damages due to the malicious nature of the Defendants’ conduct.
WHEREFORE, Plaintiff demands judgment against Defendants in the sum of One Hundred

Thousand ($100,000.00) Dollars, plus punitive damages and costs.

Count IV
Assault

33. Plaintiff incorporate by reference paragraphs | through 32 as if restated herein.
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34. Plaintiff avers that the Defendants did, on or about the 1s® day of September, 2017, without
cause, with malice of forethought and willful intent, commit an assault and battery upon the
person of the Plaintiff by spraying her with a chemical/pepper spray substance in her eyes
and on and about the skin of her face and upper body causing severe pain and discomfort.

35. Plaintiff as a proximate result of the Defendants’ willful and malicious action was caused to
suffer damage. Accordingly, Plaintiff claims compensatory damages suffered as a proximate
cause of the actions of Defendants.

36. Plaintiff claims punitive damages due to the malicious nature of the Defendants’ conduct.
WHEREFORE, Plaintiff demands judgment against Defendants in the sum of One Hundred

Thousand ($100,000.00) Dollars, plus punitive damages and costs.

Count V

False Imprisonment Action

37. Plaintiff incorporate by reference paragraphs | through 36 as if restated herein.

38. On or about the 18" day of September, 2017, the Defendants in Russell County, Alabama did
unlawfully detain the Plaintiff against the Plaintiff's will and imprison the Plaintiff under the
following conditions: by physically restraining the minor for an unreasonable long time and
did unlawfully arrest and imprison the Plaintiff thereby depriving her of her liberty.

39. Plaintiff as a proximate result of the Defendants’ willful and malicious action was caused to
suffer damage. Accordingly, Plaintiff claims compensatory damages suffered as a proximate
cause of the actions of Defendants.

40. Plaintiff claims punitive damages due to the malicious nature of the Defendants’ conduct.

WHEREFORE, Plaintiff demands judgment against Defendants in the sum of One

Hundred Thousand ($100,000.00) Dollars, plus punitive damages and costs.

Count VI
CIVL RIGHTS VIOLATION

41. Plaintiff incorporate by reference paragraphs | through 40 as if restated herein.

42. This claim is brought pursuant to 42 USC §1983

43. On or about the 18" day of September, 2017, the Defendants in Russell County, Alabama,
while acting under color of a statute, ordinance, regulation, custom, or usage, of the State of

Alabama and the City of Phenix City, did violate the constitutional protections afforded the
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Plaintiff by the 4" Amendment to the United States Constitution by unlawfully detaining the
Plaintiff and restricting her liberty and freedom.

44. Plaintiff as a proximate result of the Defendants’ willful and malicious action was caused to
suffer damage. Accordingly, Plaintiff claims compensatory damages suffered as a proximate
cause of the actions of Defendants.

45. Plaintiff claims punitive damages due to the malicious nature of the Defendants’ conduct.

WHEREFORE, Plaintiff demands judgment against Defendants in the sum of One

Hundred Thousand ($100,000.00) Dollars, plus punitive damages and costs.

Count VII
CIVL RIGHTS VIOLATION

46. Plaintiff incorporate by reference paragraphs 1 through 40 as if restated herein.

47. This claim 1s brought pursuant to 42 USC §1983

48. On or about the 18" day of September, 2017, the Defendants in Russell County, Alabama,
while acting under color of a statute, ordinance, regulation, custom, or usage, of the State of
Alabama and the City of Phenix City, did violate the constitutional protections afforded the
Plaintiff by the 4" Amendment to the United States Constitution by unlawfully seizing and
searching the Plaintiffs phone.

49. Plaintiff as a proximate result of the Defendants’ willful and malicious action was caused to
suffer damage. Accordingly, Plaintiff claims compensatory damages suffered as a proximate
cause of the actions of Defendants.

50. Plaintiff claims punitive damages due to the malicious nature of the Defendants’ conduct.

WHEREFORE, Plaintiff demands judgment against Defendants in the sum of One

Hundred Thousand ($100,000.00) Dollars, plus punitive damages and costs.

RESPECTFULLY SUMITTED this 30" day of May, 2018.

/s/ Eric B. Funderburk

ERIC B. FUNDERBURK (FUN003)
Funderburk and Lane

Post Office Box 1268

Phenix City, Alabama 36868

(334) 297-2900

Attorney for Plaintiff
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Plaintiff demands a trial by Jury.

Defendants may be by Sheriff at:

City of Phenix City, Alabama

c/o Wallace Hunter, City Manager
Their Agent of Service

Municipal Building

601 12" Street

Third Floor

Phenix City, AL 36867

Officer Jay Geiger

c/o Chief Ray Smith

Chief of Police

Phenix City Police Department
1111 Broad Street

Phenix City, AL 36867

JURY DEMAND

FUNDERBURK & LANE

/s/ Evic B. Funderburk

ERIC B. FUNDERBURK (FUN003)
Post Office Box 1268

Phenix City, Alabama 36868

(334) 297-2900

Attorney for Plaintiff
